 

Case 6:20-cv-00612-PGB-EJK

Document 1-2 Filed 04/09/20

Page 1 of 2 PagelD 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bossman Boats, LLC | .
nvoice
210 Parktowne Blvd
Suite 5 Date invoice #
ey A
Edgewater, FL 32132 41772019 1383
Bill To Ship To
Corey Brinson & Tiffany Pierce
2018 Meadow Oak Cir,
Polk City, FL 33868
P.O. Number Terms Rep Ship Via F.0.8. Project
1/7/2019
Quantity Item Code Description Price Each Amount
1 | Tortuga SC 2020 Bossman Tortuga Matterhorn White Hull & Deck; 19,950.00 19,950.00T
Boat Length 17°11”, Beam 70”, Transom Height 20”.
Standard Features Include: Premium Fit & Finish With
Diamond Non-Skid Deck, All SS Hardware, 2 Lockable
Rod Lockers, Custom Fit 3 Rod Holders Port &
Starboard Side, Forward Large Storage Locker, Forward
16 Gallon Fuel Cell, 16" Walk Around Gunwales, LED
Nav Lights, 750gph Automatic Bilge, Push Pole Holders,
NFS Steering, Offset Side Floor Console With Consale
Storage, SS Steering Wheel With Control Knob, 6 Toggle
Electric Panel, 65qt Yeti Cooler With Cushion/Rear
Bench & Custom Poling Platform, Five Year
Transferrable Tull Warranty. #BQM002553920
(| Suzuki 30 New Suzuki 50hp 4 Stroke 0.00 0,00T
L | Float On Trailer 2019 Float On Aluminum Trailer 0.00 0.00T
#40 YBF 1712KF000615
1 | Bossman SPCL Bossman Special: 8f Sportsman Series II Power Pole & 1,995.00 1,995,00T
12V $5ib Thrust Minn Kota Tiller Trolling Motor With
Pre Wire Including Series 24 Battery, Battery Tray,
7Oamp Breaker, Quick Release Plug & Receptacle
1 | Mise. Add Ons Upgrade To 24V 7016 Thrust Minn Kota iPilot Trolling 880,00 880.00T
Motor, Additional Serics 24 Battcry & Battery Tray
L | Misc. Add Ons Humuninbird Helix 7 Chirp GPS G3 Mega S1/DI With 700.00 700.00T
Transducer
1 | Mise. Add Ons Installation Of Humminbird 150,00 150.00T
L|SS Prop Stainless Steel Prop 395,00 395.00T
1 | Misc. Add Ons Upgrade To Hydraulic Steering 875,00 875.00T
|| OB 3 Bk Chrg 3 Bank Onboard Charger 395.00 395.00T

 

 

 

 

 

Prices quoted are for cash or check only.
Credit card purchases add a 4% processing fee.

Sales Tax (6.5%)

 

Total

 

Payments/Credits

 

 

Balance Due

 

Page 1

 

 
Case 6:20-cv-00612-PGB-EJK Document 1-2

Filed 04/09/20

Page 2 of 2 PagelD 38

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bossman Boats, LLC | nvo i ce
210. Parktowne Bivd
Suite 5 Date Invoice #
oO ”
Edgewater, FL 32132 41712019 1899
Bill To Ship To
Corey Brinson & Tiffany Pierce
2018 Meadow Oak Cir,
Polk City, FL 33868
P.O, Number Terms Rep Ship Via F.O.B. Project
HT2019
Quantity Item Code Description Price Each Amaunt
1{ Mise. Add Ons Atlas Micro Jacker Installed 1,250.00 1,250.00T
1 | Misc. Add Ons 9x9 Lenco Trim Tabs Installed 695.00 695.00T
1 | Misc. Add Ons 22 Gallon Livewell/Rear Bench Replacing Yeti Cooler 1,650.00 1,650,00T
1 | Mise, Add Ons Rear Bench Seat Cushion 250.00 250,00T
1 | Mise. Add Ons Mooring Cover 350,00 350.00T
1 | Mise, Add Ons Upgrade To New Suzuki 60hp 4 Stroke # 06002F 650.00 650,00T
~910984
1 | Misc, Add Ons Additional $f Sportsman Series II Power Pole 1,400.00 1,400,00T
Sales Discounts Factory Direct Cash Rebate ~2,792.72 -2,792.72
Subtotal 28,792.28
1 | Dealer Fee Dealer Fee Includes Florida Registration Fees, FL 250,00 250.00
Numbers For The Boat & Transom Tie Down Straps
Prices quoted are for cash or cheek only. °
Credit card purchases add a 4% processing fee. Sales Tax {6.5 /) $1,871.50
Total $30,913.78
Payments/Credits $30,213.78
Balance Due $700.00

 

 

Page 2

 
